Case 3:12-cr-01243-BEN   Document 275   Filed 09/13/13   PageID.855   Page 1 of 6
Case 3:12-cr-01243-BEN   Document 275   Filed 09/13/13   PageID.856   Page 2 of 6
Case 3:12-cr-01243-BEN   Document 275   Filed 09/13/13   PageID.857   Page 3 of 6
Case 3:12-cr-01243-BEN   Document 275   Filed 09/13/13   PageID.858   Page 4 of 6
Case 3:12-cr-01243-BEN   Document 275   Filed 09/13/13   PageID.859   Page 5 of 6
Case 3:12-cr-01243-BEN   Document 275   Filed 09/13/13   PageID.860   Page 6 of 6
